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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                   CRIMINAL 05-0383CCC
 1) JOEL MORENO-ESPADA
 a/k/a JOEL, (Counts One and Two)
 2) JOSE RAFAEL VELAZQUEZ-LOPEZ,
 a/k/a Bebe (Counts One and Two)
 3) ITHIER RIVERA-SANTIAGO,
 a/k/a Ithier (Counts One, Two and Three)
 4)
 5) JOSE A. RIVERA-SANTIAGO
 a/k/a Pelón (Counts One and Two)
 6)
 7) LUIS DANIEL MELENDEZ-SANCHEZ
 a/k/a Corito (Counts One, Two and Three)
 8) MIGUEL A. LOPEZ-PAGAN
 a/k/a Macho
 (Counts One, Two and Three)
 9) OMAR MORENO-ESPADA
 a/k/a Omar (Counts One and Two)
 10) RAMON L. MARTINEZ-RODRIGUEZ
 a/k/a Negro, a/k/a Spiderman
 (Counts One and Two)
 11) JOSE RIVERA-GONZALEZ
 a/k/a Gil (Count One)
 12) JOSE E. RIVERA-GONZALEZ
 a/k/a Geño (Count One)
 13) CARLOS JOSE CRUZ-FRANCO
 14) SONIA ESPADA-MALAVEZ
 a/k/a Coja (Count One)
 15) LIZETTE RIVERA-ESPADA
 a/k/a Pelota (Count One)
 16) YARITZA I. FRANCESCHI-MALAVE
 (Count One)
 Defendants
                                          ORDER
       Before the Court is the Objection to the Pre-Sentence Report of defendant Sonia Espada-
Malavé filed by the United States on August 24, 2006 (docket entry 259).                     The
government’s only objection is to the application of U.S.S.G. §2D1.2, which resulted in a base
offense level of 32 instead of the base offense level of 30 stipulated with defendant in the Plea
Agreement (docket entry 176, at p. 4, ¶ 8(a)).
       Defendant pled guilty to Count One of the Indictment (docket entry 2), which charged
a conspiracy to possess with intent to distribute and distribute narcotic controlled substances in
a public housing project in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), 846 & 860. The
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version of facts attached to the Plea Agreement, which defendant subscribed, specifically states
that she sold narcotics at Las Palmas public housing project in Coamo, Puerto Rico. Under the
advisory Sentencing Guidelines, a conviction under 21 U.S.C. §§ 841(a)(1), (b)(1)(A), 846
& 860 entails the application of §2D1.2, Drug Offenses Occurring Near Protected Locations,
under which the base offense level is 2 plus the offense level from Guideline §2D1.1 applicable
to the quantity of controlled substances, in this case 30. See §2D1.1(c)(5). Thus, the base
offense level applicable to defendant for the offense of conviction is 32, as correctly determined
in the Pre-Sentence Report (PSR). Accordingly, the government’s objection to the PSR is
OVERRULED.
       SO ORDERED.
       At San Juan, Puerto Rico, on October 26, 2006.



                                                    S/CARMEN CONSUELO CEREZO
                                                    United States District Judge
